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  8
  9                         UNITED STATES DISTRICT COURT
 10                        CENTRAL DISTRICT OF CALIFORNIA
 11 ARNAUD VAN DER GRACHT DE                     Case No. 8:18-cv-00236-AG-JCG
    ROMMERSWAEL, Derivatively on
 12 Behalf of PUMA BIOTECHNOLOGY,
    INC.,                                        DECLARATION OF ASHLEY R.
 13                                              RIFKIN IN SUPPORT OF
                        Plaintiff,               PLAINTIFF'S MOTION FOR FINAL
 14                                              APPROVAL OF DERIVATIVE
 15       v.                                     SETTLEMENT

 16 ALAN H. AUERBACH, CHARLES R.
    EYLER, JAY M. MOYES, TROY E.
 17 WILSON, ADRIAN M.
    SENDEROWICZ, FRANK E. ZAVRL,
 18 and THOMAS R. MALLEY,
 19                            Defendants,
 20         -and-
 21 PUMA BIOTECHNOLOGY, INC., a
 22 Delaware corporation,                        Date: January 7, 2019
                                                 Time: 10:00 a.m.
 23                 Nominal Defendant.           Courtroom: 10D
                                                 Judge: Hon. Andrew J. Guilford
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 25
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 27
 28
      DECLARATION OF ASHLEY R. RIFKIN ISO PS' MOTION FOR FINAL APPROVAL OF SETTLEMENT
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  1         I, Ashley R. Rifkin, declare:
  2         1.    I am an attorney duly licensed to practice before all of the courts of the
  3 State of California. I am a partner with the law firm Robbins Arroyo LLP ("Robbins
  4 Arroyo" or the "Firm"), counsel for plaintiff Arnaud Van Der Gracht de
  5 Rommerswael ("Plaintiff") in the above-captioned consolidated action (the
  6 "Action"). Robbins Arroyo's Firm Resume is attached hereto as Exhibit A.
  7         2.    I submit this Declaration in Support of Plaintiff' Motion for Final
  8 Approval      of   Derivative   Settlement    ("Motion"),    which    is   being    filed
  9 contemporaneously herewith.1        The facts submitted herein demonstrate that the
 10 Settlement is fair, reasonable, and adequate, and in the best interests of Puma
 11 Biotechnology, Inc. ("Puma" or the "Company") and its shareholders, and the
 12 agreed-to amount of fees and expenses is reasonable and appropriate.
 13 I.      INTRODUCTION
 14         3.    The Settlement represents an outstanding resolution for Puma, and is the
 15 product of vigorous, arm's-length negotiations among the Settling Parties, with
 16 mediator Gregory P. Lindstrom ("Mediator") assisting the Parties in reaching the
 17 agreed-upon Fee and Expense Amount. The Settlement provides for numerous,
 18 significant corporate governance enhancements that directly address the alleged
 19 wrongdoing to ensure that misstatements regarding the Company's research and
 20 development efforts and risks are unlikely to occur again.
 21         4.    Among other things, the Reforms include: (i) appointment of one new
 22 Independent Director to the Board; (ii) Stockholder input for the new Independent
 23 Director and future director nominees; (iii) requirement that the Nominating and
 24
 25   1
      Unless otherwise noted, all capitalized terms shall have the same definitions as set
 26 forth in the Stipulation of Settlement dated September 28, 2018 ("Stipulation" or
    "Stip") (ECF No. 17-1), and filed as Exhibit 1 to the Joint Status Report and Notice
 27 of Filing Stipulation of Settlement (ECF No. 17).
 28                                          -1-
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  1 Corporate Governance Committee meet with each director nominee; (iv) requirement
  2 that two-thirds of the directors must satisfy heightened independence standards; (v)
  3 creation of a Board-level Research and Development Committee ("R&D
  4 Committee") to oversee product pipeline and research and development efforts
  5 (including those regarding clinical trials) and to review and preapprove material
  6 public disclosures; (vi) director stock ownership requirements; (vii) annual
  7 assessments of Puma's financial reporting and disclosures by management and the
  8 Audit Committee; (viii) requirement that the Audit Committee inform the Board of
  9 any material suspected errors in the books and report to the Board if Puma appears to
 10 have insufficient liquidity; (ix) limitation on director engagements outside of the
 11 Company; (x) requirement that the Compensation Committee consider officers'
 12 performance as it relates to legal compliance and compliance with the Company's
 13 internal policies and procedures in determining the compensation and termination
 14 benefits of officers; and (xi) heightened requirements for approval and disclosure of
 15 related party transactions. These policies, among others, address weaknesses in
 16 Puma's disclosure controls by requiring independent Board oversight over the
 17 Company's research and development efforts and related public disclosures and
 18 generally improve and strengthen the Company's internal controls. These Reforms
 19 are especially valuable to Puma and its shareholders given the current stage of the
 20 Company's product pipeline, as the Reforms will restore investor confidence in the
 21 Company as it undergoes ongoing clinical trials of its drug, neratinib, and seeks
 22 approval of neratinib in several countries abroad.         As detailed herein, these
 23 substantial benefits conferred on Puma support final approval of the Settlement.
 24         5.    After negotiating the material terms of the Settlement, the Settling
 25 Parties, with the assistance of the Mediator, negotiated the amount of attorneys' fees
 26 and expenses to be paid to Plaintiffs' Counsel. As a result of those negotiations,
 27 Puma has agreed to cause its insurers to pay Plaintiffs' Counsel $1,175,000 in
 28                                           -2-
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  1 recognition of the substantial benefits conferred upon the Company. This Fee and
  2 Expense Amount has been approved by Puma's independent, non-defendant directors
  3 in a good faith exercise of business judgment. Stip., §IV.
  4         6.    In sum, the Settlement confers substantial benefits upon Puma, is fair,
  5 reasonable, and adequate, and should be approved in its entirety.
  6 II.     BACKGROUND OF THE LITIGATION
  7         7.    This litigation relates to a series of disclosures regarding the results of
  8 the Company's clinical trials for its new drug, neratinib, which Plaintiffs allege were
  9 misleading. Plaintiffs further allege that when Puma presented the full details of the
 10 clinical trial results regarding the drug's safety and efficacy, Puma's market
 11 capitalization fell by over $7.5 billion, or 91%.
 12         8.    As a result, on June 3, 2015, Puma investors filed a securities class
 13 action in this Court, entitled Hsu v. Puma Biotechnology, Inc., No. 8:15-cv-00865-
 14 AG-SHK (the "Securities Action"), seeking to recover their losses. Stip., §I.A. Trial
 15 in the Securities Action is scheduled to begin January 15, 2019.
 16         A.    Proceedings in This Derivative Action
 17         9.    On August 29, 2017, after significant analysis and investigation into the
 18 alleged wrongdoing, including investigation into whether the Puma Board was
 19 sufficiently independent to consider a litigation demand, Plaintiff sent a litigation
 20 demand letter to the Board demanding that it engage independent outside legal
 21 counsel, investigate the misconduct, and take legal action against the individuals
 22 responsible ("Litigation Demand"). Stip., §I.C. The Litigation Demand was rejected
 23 by the Board through a letter dated January 9, 2018. Id.
 24         10.   On February 9, 2018, Plaintiff filed his stockholder derivative action,
 25 alleging that the Litigation Demand was wrongfully refused. Id. Plaintiff alleges
 26 that the Board failed to perform a good faith, independent investigation of the claims
 27 contained in the Litigation Demand, but instead based its decision to reject the
 28                                           -3-
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  1 Litigation Demand on a biased investigation previously conducted by counsel for
  2 Puma to develop a defense in the Securities Action. Id.
  3         B.     Proceedings in Related Derivative Actions
  4         11.    In April 2016, plaintiffs Xing Xie ("Xie") and Kevin McKenney
  5 ("McKenney"), also after significant analysis and investigation, each filed
  6 stockholder derivative actions regarding the alleged wrongdoing in the Los Angeles
  7 Superior Court (the "Superior Court"), which the Superior Court later consolidated
  8 (the "State Actions"). Id., §I.B. The State Actions allege that making a demand on
  9 the Puma Board to investigate the misconduct and take legal action against the
 10 individuals responsible was excused as futile. Id. The State Actions have been
 11 stayed since June 21, 2016, pending resolution of the Securities Action. Id.
 12 Pursuant to the terms that were negotiated in the stipulation to stay that was granted
 13 by the Superior Court, Defendants provided counsel for the plaintiffs in the State
 14 Actions with several hundred thousand pages of documents that were produced in
 15 connection with the Securities Action. Id.
 16         12.    On May 30, 2018, plaintiff Paul Duran ("Duran"), also after significant
 17 analysis and investigation, filed a stockholder derivative action in this Court, alleging
 18 the same wrongdoing and that demand on the Puma Board to investigate the
 19 misconduct and take legal action against the individuals responsible was excused as
 20 futile. Id., §I.C.
 21
            C.     Settlement Efforts and Confirmatory Discovery
 22
            13.    Given the unique circumstances of this case, including recent, positive
 23
      developments at Puma as it gained momentum toward commercially launching its
 24
      drug, neratinib, in the United States and abroad, counsel for Plaintiffs believed that
 25
      an early resolution of the derivative claims could be in Puma's best interests. Id.,
 26
      §I.D. As such, counsel for the plaintiffs in the State Actions and counsel for Plaintiff
 27
 28                                            -4-
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  1 in this Action sent separate settlement demands on February 23, 2018, and April 5,
  2 2018, respectively. Id.
  3         14.   Over the next few months, counsel engaged in numerous telephonic and
  4 written exchanges regarding the terms to be included in any settlement, with a
  5 careful eye toward ensuring the settlement included comprehensive corporate
  6 governance reforms tailored to preventing the alleged wrongdoing from recurring.
  7 Id.    On or about June 29, 2018, the Parties agreed upon the Reforms to be
  8 implemented as part of the Settlement. Id. & Ex. A.
  9         15.   After agreeing upon the substantive consideration for the Settlement, the
 10 Settling Parties turned to the question of Plaintiffs' Counsel's fees and expenses. Id.,
 11 §I.D. After submitting briefs to the Mediator regarding an appropriate fee in light of
 12 the substantial benefits secured by Plaintiffs' Counsel, the Settling Parties and a
 13 Puma D&O liability insurer engaged in a day-long mediation on July 25, 2018. Id.
 14 The Settling Parties were unable to resolve the matter at the mediation, but continued
 15 to work with the Mediator telephonically, and reached an agreement in principle on
 16 July 30, 2018. Id. Puma's insurers have agreed to pay the Fee and Expense Amount
 17 of $1,175,000, upon Court approval. Id., ¶4.1.
 18         16.   The Settling Parties then prepared and negotiated the terms of the
 19 Stipulation, which was executed on September 28, 2018.
 20         17.   In the meantime, Puma provided Plaintiff with certain confirmatory
 21 discovery, which consisted of over 1.2 million pages of documents produced in
 22 connection with the related Securities Action. Plaintiff performed a tailored review
 23 of the confirmatory discovery through targeted searches.         Among other things,
 24 Plaintiff reviewed emails among the Defendants regarding the results of the
 25 Company's clinical trials, Board and committee meeting minutes, presentations
 26 provided to the Board on the status and results of the Company's clinical trials, and
 27 other clinical trial materials. Through this review, the undersigned counsel for
 28                                           -5-
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  1 Plaintiff confirmed their conclusion that the Settlement is fair, reasonable, and
  2 adequate, and in the best interests of Puma.
  3         D.    Preliminary Approval Granted and Notice to Stockholders
  4         18.   On November 5, 2018, the Court granted preliminary approval of the
  5 Settlement, authorized the dissemination of the Notice and Summary Notice to Puma
  6 stockholders, and set the Settlement Hearing for January 7, 2019. [In Chambers]
  7 Order Granting Motion for Preliminary Approval of Class Action Settlement (ECF
  8 No. 23) ("Prelim. Order") at 7. As of the date of this filing, no objections have been
  9 received.
 10 III. THE SETTLEMENT SHOULD BE FINALLY APPROVED
 11         A.    The Settlement Confers a Substantial Benefit upon Puma
 12         19.   The Settlement guarantees Puma and its shareholders the substantial,
 13 immediate, and lasting benefits of enhanced governance reforms that directly address
 14 the alleged wrongdoing.
 15         20.   The Reforms, which Puma has agreed to keep in place for at least five
 16 years, include, among other things:
 17        21. Appointment of One New Independent Director: Plaintiffs believe a
 18 critical and immensely valuable component of the Settlement is increasing the
 19 independence of Puma's six-member Board. Increasing Board independence from
 20 management at Puma is crucial since Puma's founder, CEO, and President, defendant
 21 Auerbach, continues to serve as Chairman of the Board.
 22       22. As a result of the Settlement, Puma will appoint one new Independent
 23 Director, bringing the Board to seven members. Stip., Ex. A, §I.A. The Settlement
 24 also provides for stockholder input for the new Independent Director and future
 25 director nominees, as well as a requirement that the Nominating and Governance
 26 Committee meet with each prospective new Board member prior to his or her
 27 nomination and include their deliberations with respect to director nominees in the
 28                                         -6-
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  1 minutes of their proceedings. Id. As this Court recognized, "the appointment of a
  2 new Independent Director will help ensure that the Board is not controlled by
  3 insiders with separate interests from those of Puma stockholders." Prelim. Order at
  4 5. The additional Independent Director will provide a fresh, independent perspective
  5 on the Board and ensure that Puma insiders are held accountable to independent
  6 directors. And the enhancements related to future director nominees will help ensure
  7 the Board remains independent going forward.
  8         23.    Director Independence: To ensure that Puma's Board continues to be
  9 independent from management, the Settlement also requires Puma to maintain a
 10 Board comprised of at least two-thirds independent directors (as opposed to the
 11 current majority), who satisfy a list of heightened independence requirements beyond
 12 those set forth in the NASDAQ listing standards and the Sarbanes-Oxley Act. Stip.,
 13 Ex. A, §I.B.1-2.
 14         24.    Director Stock Ownership: The Settlement requires all Puma
 15 nonemployee directors to attain beneficial ownership of not less than 10,000 shares
 16 of the Company's common stock within three years and to retain such minimum
 17 beneficial stock ownership so long as he or she continues to serve as a director.
 18 Stip., Ex. A, §I.B.6. This will help to ensure that Puma's directors share a financial
 19 interest with Puma's stockholders and put Puma's stockholders' interests first. See
 20 Prelim. Order at 5 (recognizing that this new stock ownership requirement "will
 21 better align the directors' and stockholders' interests").
 22         25.    Director Training: The Settlement requires Puma to implement a
 23 formal continuing education program requiring that each director attend: (a) at least
 24 once every three years (or within six months of joining the Board for new directors)
 25 one multi-day training course provided by a nationally recognized corporate director
 26 education provider; and (b) at least annually an internal presentation on a topic of
 27 particular importance to the Company or the Board, including coverage of
 28                                            -7-
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  1 compliance with generally accepted accounting principles, the Sarbanes Oxley Act,
  2 regulatory requirements for New Drug Application submissions, corporate
  3 governance, assessment of risk, compliance auditing, and reporting requirements for
  4 publicly traded companies. Stip., Ex. A, §I.B.3. These reforms will ensure that all
  5 directors are knowledgeable about their fiduciary duties, and adequately trained on
  6 topics that are of significant importance to Puma and its stockholders.
  7         26.   Limitation on Director Engagements and Committee Chairs: The
  8 Settlement prohibits any individual member of the Board from being the chairman of
  9 more than one committee of the Board at a time, and it requires directors to seek
 10 approval from the Board in advance of accepting an invitation to serve on the board
 11 of another public company.       Stip., Ex. A, §I.B.5. These reforms will ensure that
 12 members of the Board have sufficient time and resources to effectively perform their
 13 duties, including monitoring management.
 14         27.   New R&D Committee: In addition to increasing the independence of
 15 the Board, Plaintiffs also believe it was essential to improve the Board's engagement,
 16 access to information, and competence in overseeing Puma's product pipeline,
 17 clinical development risks, and related disclosures. Indeed, one of Plaintiffs' primary
 18 concerns was that the Board allowed management to make false and misleading
 19 disclosures regarding its clinical developments risks related to neratinib.
 20         28.   As a result of the Settlement, Puma will create a new Board-level R&D
 21 Committee for the purpose of overseeing the Company's product pipeline and
 22 research and development efforts, including oversight and evaluation of the
 23 Company's clinical trials and clinical development risk. Stip., Ex. A, §I.H. The
 24 R&D Committee will be composed of three independent directors, a majority of
 25 whom have sufficient scientific and/or medical expertise to review and evaluate the
 26 progress of the Company's product pipeline. Id., §I.H.1. The R&D Committee will
 27 be responsible for, among other things: (a) meeting with the Chief Medical and
 28                                           -8-
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   1 Scientific Officer at least quarterly to review the progress of the Company's product
   2 pipeline; (b) assessing each product's progress against its targets; (c) preapproving
   3 the Company's material public disclosures related to its product pipeline, research
   4 and development efforts, results of preclinical studies and clinical trials, status of
   5 New Drug Applications, and communications with the FDA; and (d) presenting to
   6 the entire Board at least quarterly on all significant findings concerning the progress
   7 of the Company's product pipeline. Id., §I.H.2-4.
   8         29.   Thus, the Settlement provides the Board with the information, mandate,
   9 and resources necessary to prevent recurrence of the alleged wrongdoing and to deter
  10 related misconduct. See Prelim. Order at 5 ("the creation of an R & D Committee
  11 will provide crucial oversight of Puma's clinical trials and development risks and is
  12 designed to avoid exactly the sort of problems that led to the current litigation.").
  13         30.   Annual Assessment of Internal Controls: The Settlement requires
  14 Puma management to work with the Audit Committee and R&D Committee to
  15 annually assess the adequacy of the Company's internal controls over financial
  16 reporting and disclosure controls and procedures and report in the Company's Form
  17 10-K any material weaknesses. Stip., Ex. A, §I.G. In addition, the CFO must
  18 annually certify to the Audit Committee that the CFO and/or the Company's outside
  19 auditor has assessed the Company's financial reporting risks and addressed any
  20 potentially unlawful activities. Id., §I.E.2. Moreover, the Audit Committee must
  21 inform the full Board of any material suspected errors in the work of the independent
  22 audit, or in the Company's maintenance of accounting records, and must inform the
  23 full Board if it finds that the Company has insufficient liquidity to operate its
  24 business successfully. Id. These reforms are designed to further strengthen the
  25 oversight function of the Board and management by ensuring Puma's CFO,
  26 management, and directors are all held responsible for reviewing the Company's
  27 internal controls, and ensure they remain best practices.
  28                                            -9-
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   1         31.   Compensation Committee: The Settlement requires the Compensation
   2 Committee to take into account a particular executive's performance as it relates to
   3 both legal compliance and compliance with the Company's internal policies when
   4 determining, setting, or approving his or her annual short-term compensation,
   5 termination benefits, and/or separation pay.         Stip., Ex. A, §I.D.      Aligning
   6 compensation with compliance will create financial incentives for management to
   7 abide by the law and the Company's internal policies.
   8         32.   Whistleblower Program: The Settlement requires Puma to adopt
   9 reforms that will help ensure any complaints made through the Company's
  10 whistleblower hotline are appropriately escalated to management and the Board.
  11 Stip., Ex. A, §I.L. The Code of Ethics will clarify that whistleblower provisions are
  12 meant for reporting potential violations of law and/or the Company policies. A log
  13 of all whistleblower complaints, and the results of all investigations of complaints,
  14 shall be maintained for at least ten years, and presented to the Company's external
  15 auditor at least annually. Id. In addition, at each regularly-scheduled Board meeting,
  16 the Board shall be provided with a summary of the types of complaints received, as
  17 well as any material information resulting from any internal investigation into such
  18 complaints. Id. These reporting requirements will help ensure that any potential
  19 compliance violations and other material issues are timely brought before the Board
  20 and addressed.
  21         33.   The above Reforms, among several additional enhancements obtained
  22 through the Settlement, are extensive and will provide substantial benefits to Puma
  23 for years after the Settlement is approved.2
  24
       2
       The five year commitment term offers an effective safeguard against dilution or
  25 discontinuance of these Reforms going forward, thereby ensuring the reasonable
  26 opportunity for strong corporate governance policies and procedures to become
     embedded into Puma's corporate governance culture and practices.
  27
  28                                          - 10 -
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   1          B.      The Risks of Establishing Liability and Damages
   2          34.     There is no question that derivative actions are complex and fraught
   3 with risk. Indeed, the Ninth Circuit, in affirming the district court's approval of a
   4 settlement in a derivative action, noted that "the odds of winning [a] derivative
   5 lawsuit [are] extremely small" because "derivative lawsuits are rarely successful." In
   6 re Pac. Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995). This case was no
   7 different.
   8          35.     Plaintiffs believe that the claims asserted in the Actions were
   9 meritorious, but liability was by no means assured.         Had Plaintiffs continued to
  10 litigate, they would have faced serious legal hurdles just to survive past the pleading
  11 stage.        Plaintiffs would have to satisfy the stringent pleading standards for
  12 demonstrating that Plaintiff's presuit demand was wrongfully refused by the Board
  13 (in this Action), or that making a presuit demand was excused as futile (in the
  14 factually-related State Actions and Duran Action).
  15          36.     If Plaintiffs' successfully overcame Defendants' dismissal motions,
  16 litigation would continue to be complex, with serious risks in overcoming potential
  17 defenses and in establishing liability. At the conclusion of discovery and expert
  18 reports, complex motions for summary judgment would need to be briefed and
  19 argued and a trial would have to be held.
  20          37.     Even if Plaintiffs were successful in defeating Defendants' dispositive
  21 motions, and ultimately established liability at trial, Plaintiffs still faced challenges
  22 establishing and collecting monetary damages.           Because Puma's Certificate of
  23 Incorporation contains an exculpatory clause, Plaintiffs may have ultimately proved
  24 their claims, only to see Individual Defendants exculpated with respect to payment of
  25 monetary damages. See, e.g., Prod. Res. Grp., L.L.C. v. NCT Grp., Inc., 863 A.2d
  26 772, 799 (Del. Ch. 2004). And the possibility that some or all of Plaintiffs' claims
  27
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   1 could have been characterized as "due care" claims could have meant those claims
   2 were subject to dismissal well ahead of a trial.
   3         38.   Faced with the risk of no recovery, the Settlement guarantees an
   4 outstanding result for Puma with the implementation of valuable corporate
   5 governance reforms that could not have been obtained if the Actions had proceeded
   6 to trial.
   7         39.   Accordingly, the Settlement is likely the best possible result and
   8 provides a substantial benefit to the Company that may not have been achieved
   9 through a trial and resulting appeals.
  10         C.    The Complexity, Expense, and Likely Duration of Continued
                   Litigation Supports Approval of the Settlement
  11
  12         40.   Another factor militating in favor of the Settlement is the complexity,
  13 expense, and likely duration of the litigation. Shareholder derivative actions are
  14 notoriously complicated actions that involve complex legal and factual issues that
  15 can be litigated to a conclusion on the merits only at great expense over an extended
  16 period of time. Pac. Enters., 47 F.3d at 378 ("[T]he odds of winning the derivative
  17 lawsuit were extremely small… Even if it had gone to trial, derivative lawsuits are
  18 rarely successful."); see also In re OSI Sys., Inc. Derivative Litig., No. CV-14-2910-
  19 MWF (MRWx), 2017 WL 5642304, at *3 (C.D. Cal. May 2, 2017) ("derivative
  20 lawsuits are difficult to win under any circumstances"). The Actions would not have
  21 been an exception to this rule.
  22         41.   If not for this Settlement, the Actions would have been fiercely
  23 contested by the Parties. And continued litigation would be complex, costly, and of
  24 substantial duration. Document discovery would need to be completed, depositions
  25 would have to be taken, experts would need to be designated and expert discovery
  26 conducted, Defendants' anticipated motions dismiss and subsequent motions for
  27 summary judgment would have to be briefed and argued, and a trial could occupy
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   1 attorneys on both sides and the Court for weeks or months. Moreover, any judgment
   2 favorable to Plaintiffs would likely be the subject of post-trial motions and appeals,
   3 which would prolong the case for years with the ultimate outcome uncertain.
   4         42.   The Settlement obviates this expenditure of further time and expenses,
   5 and favorably resolves the Actions in the best interests of Puma, permitting the
   6 Company to direct its full attention to business, including its ongoing clinical trials
   7 and new drug applications abroad.        Thus, the prospect of continued protracted
   8 expensive and uncertain litigation strongly supports approval of the Settlement,
   9 which provides immediate and substantial benefits to Puma and its shareholders. See
  10 Prelim. Order at 6 ("An early settlement is thus the best way to achieve the corporate
  11 reforms sought without incurring inordinate fees and making bilateral agreement
  12 decreasingly likely").
  13         D.    The Settlement Was Negotiated by the Parties with a Thorough
                   Understanding of the Strengths and Weaknesses of the Parties'
  14               Respective Positions
  15         43.   The stage of the proceedings and discovery is another factor which
  16 courts consider in approving a settlement. Through Plaintiffs' Counsel's substantial
  17 efforts, they were able to credibly evaluate the Actions and the propriety of settling
  18 at this stage.     Plaintiffs' Counsel conducted an extensive investigation of the
  19 allegations asserted in the Actions, which included: (a) reviewing Puma's press
  20 releases, public statements, SEC filings, and securities analysts' reports and
  21 advisories about the Company, its financial condition, and the status and results of
  22 Puma's research and development efforts relating to its drug, neratinib; (b) reviewing
  23 related media reports about the Company; (c) researching applicable law with respect
  24 to the claims alleged in the Actions and potential defenses thereto; (d) researching
  25 and preparing correspondence related to Plaintiff's Litigation Demand; (e) preparing
  26 and filing derivative complaints; (f) reviewing internal, Company documents that
  27 had been produced in connection with the related Securities Action; (g) conducting
  28                                          - 13 -
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   1 damages analyses; (h) reviewing and analyzing relevant filings in the Securities
   2 Action; (i) thoroughly evaluating Puma's corporate governance structures, policies,
   3 and reviewing the academic and industry literature and best practices to develop the
   4 Reforms negotiated for the Company; (j) engaging in months of telephonic and
   5 written exchanges that led to an agreement in principle on the material terms of the
   6 Settlement; (k) participating in a day-long, in-person mediation (and several follow-
   7 up discussions); and (l) drafting, reviewing, and exchanging briefs and other
   8 documents detailing the Parties' respective positions. Stip., §II.
   9         44.   Plaintiffs' Counsel's thorough investigation, which included the efforts
  10 described above as well as counsel's past experience in litigating complex derivative
  11 actions, provided Plaintiffs with a clear picture of the strengths and weaknesses of
  12 the Actions.     Having enough information to properly evaluate the claims and
  13 defenses, Plaintiffs have resolved the Actions on a highly favorable basis to Puma
  14 and its shareholders.
  15         E.    The Experience and Views of Counsel Favor Approval
  16         45.   Significant weight should be attributed to the belief of experienced
  17 counsel that settlement is in the best interest of the Company. As set forth above, the
  18 Settlement is the product of hard-fought, arm's-length negotiations by counsel with a
  19 comprehensive understanding of the relevant facts and law and the relative strengths
  20 and weaknesses of the claims and defenses. Plaintiffs' Counsel are highly
  21 experienced in shareholder derivative litigation, have litigated scores of shareholder
  22 derivative actions to successful resolution and are nationally recognized as leaders in
  23 the field of shareholder rights litigation. Plaintiffs' Counsel used their expertise to
  24 effectively and efficiently prosecute the Actions and reach an outstanding result for
  25 Puma and its shareholders.          Thus, Plaintiffs' Counsel's          well-informed
  26 recommendations strongly support approval of the Settlement.
  27
  28                                           - 14 -
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       IV.     THE SEPARATELY NEGOTIATED ATTORNEYS' FEES AND
   1           EXPENSES SHOULD BE APPROVED
   2
               46.     Plaintiffs' Counsel's efforts in prosecuting the Actions on behalf of the
   3
       Company and negotiating the Settlement have conferred a substantial benefit upon
   4
       Puma.        In light of the substantial benefits achieved, Puma has agreed to pay
   5
       $1,175,000 for Plaintiffs' Counsel's attorneys' fees and expenses, subject to Court
   6
       approval. Stip., §VI.
   7
               A.      Unopposed Fees Negotiated at Arm's-Length Are Favored
   8
               47.     The U.S. Supreme Court has endorsed this type of consensual resolution
   9
       of attorneys' fees issues as the ideal toward which litigants should strive. Hensley v.
  10
       Eckerhart, 461 U.S. 424, 437 (1983) ("A request for attorney's fees should not result
  11
       in a second major litigation. Ideally, of course, litigants will settle the amount of a
  12
       fee."). Applying these principles to derivative settlements, courts have approved
  13
       separately negotiated attorneys' fees provisions and deferred to corporate directors'
  14
       business judgment as to the amount of attorneys' fees to be paid to plaintiffs' counsel
  15
       based upon the substantial benefits conferred upon the corporation. See, e.g., City of
  16
       Westland Police & Fire Ret. Sys. v. Sonic Sols., No. C 07-0511-CW, slip op., ¶¶5, 9
  17
       (N.D. Cal. Apr. 8, 2010) (approving attorneys' fee provision separately negotiated by
  18
       independent directors) (attached hereto as Exhibit E).
  19
               48.     Here, the Settling Parties negotiated the Fee and Expense Amount after
  20
       the principal terms of the Settlement were agreed upon, with the assistance of the
  21
       Mediator. As the Mediator observed, "[b]ased on the quality of advocacy during the
  22
       mediation process, I can attest from firsthand knowledge that the Fee and Expense
  23
       Amount was reached through hard fought, arm's-length negotiations conducted in
  24
       good faith by highly skilled counsel with extensive experience in shareholder
  25
       derivative litigation." Declaration of Gregory P. Lindstrom in Support of Plaintiff's
  26
       Motion for Final Approval of Derivative Settlement, ¶11, attached as Exhibit B
  27
       hereto.
  28                                              - 15 -
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   1         49.    The Settling Parties' negotiations were based upon a knowledgeable
   2 analysis of what an appropriate fee would be for the benefits achieved and the fees
   3 awarded in similar situations. Plaintiffs' Counsel negotiated with their adversaries,
   4 who are attorneys employed by some of the most respected firms in the country,
   5 have litigated complex shareholder actions for many years, and know the applicable
   6 law pertaining to fee awards.         In such circumstances, the end result of those
   7 negotiations―reflecting all Settling Parties' experiences as to what is appropriate―is
   8 entitled to a great deal of judicial weight. See In re Apple Comput., Inc. Derivative
   9 Litig., No. C 06-4128 JF (HRL), 2008 WL 4820784, at *3 (N.D. Cal. Nov. 5, 2008)
  10 (recognizing that the participation of a mediator and the "involvement of multiple
  11 counsel from different firms suggests a lack of collusion," and that a "court should
  12 refrain from substituting its own value for a properly bargained-for agreement").
  13         B.     The Fee and Expense Amount Is Fair and Reasonable in Light of
                    the Substantial Benefits Obtained
  14
  15         50.    Under the "substantial benefit" doctrine, counsel who prosecute a
  16 derivative action that confers benefits on the corporation are entitled to an award of
  17 attorneys' fees and costs. Mills v. Elec. Auto-Lite Co., 396 U.S. 375, 395-96 (1970)
  18 ("a corporation may receive a 'substantial benefit' from a [stockholders' action],
  19 justifying an award of counsel fees, regardless of whether the benefit is pecuniary in
  20 nature," and that "regardless of the relief granted, private stockholders' actions of this
  21 sort 'involve corporate therapeutics,' and furnish a benefit to all shareholders....").
  22         51.    The Settlement achieved by Plaintiffs' Counsel provides for the
  23 implementation of comprehensive corporate governance reforms that will not only
  24 prevent and deter recurrence of the alleged misconduct, but will also make the Puma
  25 Board members more effective representatives of Puma shareholders. See Section
  26 IV.A. supra. Although difficult to quantify, the therapeutic value of the Reforms and
  27 the Reforms' positive effect on the $890 million Company's intrinsic value are
  28                                            - 16 -
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   1 substantial.3 See Maher v. Zapata Corp., 714 F.2d 436, 461 (5th Cir. 1983) ("effects
   2 of the suit on the functioning of the corporation may have a substantially greater
   3 economic impact on it, both long- and short-term, than the dollar amount of any
   4 likely judgment").
   5         52.   These substantial benefits warrant the requested Fee and Expense
   6 Amount, which is consistent with fees awarded in derivative settlements that
   7 achieved comparable, nonmonetary benefits. See In re Arena Pharm., Inc. S'holder
   8 Derivative Litig., No. 37-2010-00101051-CU-BT-CTL, slip op. (Cal. Super. Ct.-San
   9 Diego Cty. Dec 16, 2011) (awarding $1.1 million in fees for similarly comprehensive
  10 governance that did not include some of the key reforms achieved here, including a
  11 new director and newly created Board-level committee), Rifkin Decl., Ex. G; In re
  12 Mannkind Corp. Derivative Litig., No. 11-cv-05003-GAF-SSx, slip op. (C.D. Cal.
  13 Nov. 19, 2012) (awarding approximately $1,250,000 in fees, comprised of $800,000
  14 in cash and approximately $450,000 worth of stock, for similarly comprehensive
  15 governance that included a management-level Disclosure Committee, but did not
  16 include some valuable reforms achieved here, including a new director), Rifkin
  17
       3
  18     A major survey of institutional investors conducted by McKinsey & Company
       showed that "[a]n overwhelming majority of investors are prepared to pay a premium
  19   for companies exhibiting high governance standards. Premiums averaged 12-14% in
  20   North America and Western Europe." McKinsey Investor Opinion Survey, McKinsey
       & Company (July 2002) available at http://www.eiod.org/uploads/publications/pdf/ii-
  21   rp-4-1.pdf (finding that "[a]fter strengthening corporate transparency, investors
  22   believe companies should create more independent boards and achieve greater
       boardroom effectiveness through such steps as better director selection, more
  23   disciplined board evaluation processes and greater time commitment from
  24   directors"); see also Beyond the Numbers: The Materiality of Corporate Governance,
       Deutsche Bank (Nov. 25, 2005) available at http://www.unepfi.org/fileadmin/
  25   documents/materiality2/governance_db_2005.pdf. (5-year analysis of 2,000 public
  26   companies shows good governance is material to public companies' equity risk
       premium; shareholders expect that the quality of governance "will ultimately be
  27   reflected in a company's operating performance metrics").
  28                                          - 17 -
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   1 Decl., Ex. H; Hess v. Heckmann, No. INC 10010407, slip op. (Cal. Super. Ct.-
   2 Riverside Cty., June 24, 2013) (awarding approximately $2.33 million worth of stock
   3 and approximately $300,000 in cash for similarly comprehensive governance that
   4 included creation of a Disclosure Committee and similar enhancements to Board
   5 independence), Rifkin Decl., Ex. I.
   6         53.   There is no question that the proposed Settlement and the Reforms are
   7 the direct result of Plaintiffs' Counsel's vigorous efforts and provide substantial
   8 benefits to Puma. Stip., ¶2.1 ("Puma and the Individual Defendants acknowledge
   9 and agree that the corporate governance reforms … are significant and extensive and
  10 confer substantial benefits upon Puma and its shareholders" and that "the prosecution
  11 and settlement of the Actions was a substantial and material factor in the Company's
  12 decision to adopt and/or implement the corporate governance reforms").
  13 Accordingly, the Fee and Expense Amount negotiated by Puma, with the aid of
  14 counsel and an experienced Mediator, and approved by the independent directors,
  15 should be approved.
  16         C.    A Lodestar Cross-Check Supports the Fairness and Reasonableness of
                   the Fee and Expense Amount
  17
  18         54.   In total, Plaintiffs' Counsel expended 1,260.42 hours on the
  19 investigation, prosecution, and resolution of the Actions for an aggregate lodestar of
  20 $666,357.25.
  21         55.   In addition, Plaintiffs' Counsel incurred a total of $24,413.27 in
  22 unreimbursed expenses in connection with the prosecution and settlement of the
  23 Actions. These expenses were reasonably necessary in the prosecution of these
  24 Actions and are of the type courts have typically found should be reimbursed when a
  25 benefit is conferred on a corporation and its stockholders in a derivative settlement.
  26         56.   Overall, Plaintiffs' Counsel's fee request results in a multiplier of
  27 approximately 1.76 on Plaintiffs' Counsel's total lodestar in the Actions.          The
  28                                           - 18 -
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   1 multiplier here falls well within the range of multipliers awarded in other complex
   2 cases by courts that obtained similar relief.
   3                 1.    Robbins Arroyo's Time and Expenses in This Action
   4           57.   Robbins Arroyo undertook this litigation on an entirely contingent basis
   5 and has not been paid for any of its work, nor have any of its costs or expenses been
   6 reimbursed. Robbins Arroyo undertook the litigation with the expectation that it
   7 would have to devote many hours of hard work to the prosecution of a case involving
   8 complex factual and legal issues without any guarantee of successful resolution or of
   9 compensation for its efforts. Robbins Arroyo diligently investigated the claims and
  10 pursued the litigation with appropriate aggressiveness, and successfully and
  11 efficiently brought the litigation to an amicable resolution. The prosecution of the
  12 litigation involved the expenditure of significant resources, including the time spent
  13 by attorneys and professional staff, as well as the substantial expenses that were
  14 incurred during the litigation, for which Robbins Arroyo received no compensation
  15 during the course of litigation.
  16           58.   The total number of hours spent on the litigation by Robbins Arroyo is
  17 759.75.4 The total lodestar amount based on Robbins Arroyo's current rates is
  18 $351,970. The schedule was prepared from contemporaneous, daily time records
  19 prepared and maintained by my firm. The hourly rates shown below are the usual
  20 and customary rates charged in all of our cases. A breakdown of the lodestar is as
  21 follows:
  22                                 YEARS OF
                    NAME /          EXPERIENCE HOURLY
  23           DESIGNATION                      RATE  HOURS                    AMOUNT
  24       PARTNERS
           Brian J. Robbins                21            $825          67.75    $55,893.75
  25
  26   4
       I exercised my discretion and did not include certain time of other attorneys and
  27 staff who worked on (but played a minor role in) the prosecution of this litigation.
  28                                       - 19 -
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   1       Ashley R. Rifkin                 12               $700      264.75   $185,325.00
           Gregory E. Del Gaizo             12               $700       15.00    $10,500.00
   2
           ASSOCIATES
   3
           Darnell R. Donahue                7               $400       24.75      $9,900.00
   4       STAFF ATTORNEYS
   5       Bradley J. Muldrow               4*               $300       71.75    $21,525.00
   6       Maureen E. Forsyth               11*              $300       48.50    $14,550.00
           Ashton S. Cohen                  1*               $250       35.00     $8,750.00
   7
           PARALEGALS                                      $228.75**    73.25    $17,208.75
   8       CORPORATE RESEARCH5                             $176.53**      159    $28,317.50
   9              TOTALS:                                              759.75   $351,970.00
  10       *Reflects years of experience at time work was performed, as such individuals no
           longer work for Robbins Arroyo
  11
           **Average Hourly Rate
  12
                59.   A more fulsome discussion of the qualifications and backgrounds of the
  13
       current Robbins Arroyo attorneys identified above may be found in Robbins
  14
       Arroyo's firm resume, which is attached as Exhibit A hereto.
  15
                60.   All of the work performed by Robbins Arroyo was reasonably necessary
  16
       in the investigation, prosecution, and settlement of this litigation. A significant
  17
  18
  19   5
          Robbins Arroyo's Corporate Research Department consists of a group of trained
  20   professionals dedicated to investigating various acts of corporate malfeasance. The
       Corporate Research team conducted substantial factual research and investigation,
  21   including, among other things: researching and identifying facts that formed the
  22   basis of the allegations; monitoring, analyzing, and circulating to the members of the
       litigation team relevant public filings, media articles, pleadings in the Securities
  23   Action, and other public information; researching and identifying relevant
  24   information concerning Puma's existing corporate governance structure; and
       conducting research into and analysis of the damages suffered by Puma as a result of
  25   the wrongdoing. The non-attorney time devoted to this matter by the Corporate
  26   Research team substantially reduced the number of attorney hours required to
       effectively prosecute the action and reduced Robbins Arroyo's average effective
  27   billing rate and lodestar.
  28                                              - 20 -
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   1 majority of the work Robbins Arroyo devoted to the litigation was focused in the
   2 following areas, among others:
   3               (a) Factual investigation into the allegations, which included reviewing
   4                    Puma's press releases, public statements, SEC filings, media
   5                    reports, and securities analysts' reports and advisories about the
   6                    Company, its financial condition, and the status and results of
   7                    Puma's research and development efforts relating to its drug,
   8                    neratinib;
   9               (b) Reviewing and analyzing relevant documents in the Securities
  10                    Action, including the briefing on the motions to dismiss and
  11                    motions for summary judgment and the related opinions and orders
  12                    of this Court;
  13               (c) Researching applicable law with respect to the claims alleged and
  14                    potential defenses thereto and conducting damages analyses;
  15               (d) Preparing         Plaintiff's   Litigation   Demand    and      related
  16                    correspondence, as well as researching applicable law to determine
  17                    whether Plaintiff's Litigation Demand was wrongfully refused;
  18               (e) Preparing Plaintiff's complaint, which included the thorough
  19                    factual and legal research discussed above, as well as further
  20                    investigation into, among other things, potential conflicts of
  21                    interest among the Defendants and whether diversity existed
  22                    among the Parties;
  23               (f) Coordinating with Defendants and preparing joint status reports
  24                    and stipulations to ensure the Action proceeded efficiently;
  25               (g) Performing efficient and targeted searches through Defendants'
  26                    production of over 1.2 million pages of documents (which had
  27                    been produced in connection with the related Securities Action),
  28                                              - 21 -
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   1                    and then reviewing and analyzing tens of thousands of pages of
   2                    documents that included emails among the Defendants regarding
   3                    the results of the Company's clinical trials, Board and committee
   4                    meeting minutes, presentations provided to the Board on the status
   5                    and results of the Company's clinical trials, and other clinical trial
   6                    materials;
   7               (h) Reviewing and analyzing Puma's corporate governance documents,
   8                    including committee charters and other internal corporate
   9                    documents concerning Puma's policies and procedures and internal
  10                    controls relating to, among other things, oversight over Puma's
  11                    research and development efforts and related disclosures; and
  12                    researching academic and industry literature and best practices
  13                    applicable to pharmaceutical company's like Puma in order to
  14                    develop the Reforms negotiated for Puma;
  15               (i) Mediation/settlement     efforts,     including   preparing   Plaintiff's
  16                    settlement demand letter, which relied on the in-depth corporate
  17                    governance research described above and numerous telephonic and
  18                    written correspondence with the Defendants to negotiate the
  19                    Reforms; preparation of Plaintiff's mediation statement and
  20                    attendance at a full day mediation before the Mediator, and several
  21                    further settlement negotiations to reach an agreement in principal
  22                    and then finalize the Stipulation;
  23               (j) Preparing the papers in support of preliminary and final approval of
  24                    the Settlement, and coordinating with the plaintiffs' counsel in the
  25                    related derivative actions regarding the papers in support of
  26                    Settlement.
  27
  28                                           - 22 -
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   1         61.   The hourly rates charged by Robbins Arroyo are reasonable for several
   2 reasons. First, the rates charged by Robbins Arroyo are its customary hourly rates.
   3         62.   Second, the hourly rates charged by Robbins Arroyo are reasonable in
   4 light of its highly specialized skill and experience, and national reputation in
   5 shareholder litigation. Robbins Arroyo is among the most experienced and skilled
   6 practitioners in the shareholder litigation field. Robbins Arroyo has served as lead or
   7 co-plaintiffs' counsel in numerous securities and complex litigation matters,
   8 including serving as lead or co-plaintiffs' counsel in hundreds of stockholder
   9 derivative and class actions in state and federal courts across the country. See Ex. A.
  10         63.   Third, we are familiar with the usual and customary billing rates
  11 typically charged by attorneys and paralegals in shareholder and derivative litigation,
  12 and the rates charged by Robbins Arroyo are usual and customary for such litigation
  13 and consistent with the rates by lawyers of comparable skill, experience, and national
  14 reputation.
  15         64.   Fourth, the hourly rates charged by Robbins Arroyo are within the range
  16 of those approved by the Court in other litigation. Rodriguez v. Cty. of L.A., 96 F.
  17 Supp. 3d 1012, 1023 (C.D. Cal. 2014) (approving rates from $500 to $975 per hour
  18 as reasonable in complex civil rights litigation).
  19         65.   Fifth, the implied hourly rate of approximately $463 charged by
  20 Robbins Arroyo's attorneys falls well within the range of those approved by the
  21 Delaware Court of Chancery, which has a national recognition for its expertise in
  22 corporate and shareholder litigation. See Espinoza v. Zuckerberg, et al., C.A. No.
  23 9745-CB, Affidavit of Jenny L. Dixon in Support of Motion for Approval of
  24 Proposed Settlement and Application for an Award of Attorneys' Fees and Expenses,
  25 ¶65 (Del. Ch. Mar. 9, 2016) (reflecting plaintiff's counsel's request for attorneys' fees
  26 that equated to an implied hourly rate of $676.12) and id. Order and Final Judgment
  27 (Del. Ch. Mar. 9, 2016) (approving foregoing request for attorneys' fees) attached
  28                                           - 23 -
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   1 hereto as Exhibit F.       Because Robbins Arroyo actively litigates shareholder
   2 derivative and class action litigation in the Delaware Court of Chancery, I believe
   3 that the hourly rates approved in this venue serve as a meaningful gauge of the
   4 market value for my firm's services.
   5         66.   To date, Robbins Arroyo has incurred a total of $8,750.03 in
   6 unreimbursed expenses in connection with the prosecution and settlement of the
   7 litigation. The expenses are broken down as follows:
   8
   9                         DISBURSEMENT                              TOTAL
             Travel                                               $16.07
  10         Photocopies                                          $1,013.75
  11         Communications & Messaging                           $762.68
             Research & Investigation                             $1,758.23
  12         Filing/Service Fees                                  $499.30
  13         Mediation Fees                                       $4,700.00
                                 TOTAL                            $8,750.03
  14
  15         67.   The expenses incurred by Robbins Arroyo are reflected in the books and
  16 records of my firm. These books and records are prepared from expense vouchers,
  17 check records, and other source materials and are an accurate record of the expenses
  18 incurred. These expenses were reasonably necessary in the prosecution of this
  19 litigation.
  20         68.   The expenses for which Robbins Arroyo seeks payment are the types of
  21 expenses that are necessarily incurred in litigation and routinely charged to clients
  22 billed by the hour. These expenses include, among others, fees paid in connection
  23 with the mediation, research, and investigative costs (for example, costs incurred
  24 through Bloomberg, Pacer, and Westlaw), as well as mailing and printing costs,
  25 filing fees, and transportation.
  26
  27
  28                                          - 24 -
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                    2.    Counsel's Time and Expenses in the Related Derivative
   1                      Actions
   2
             69.    The time and expenses incurred by the plaintiffs' counsel in the related
   3
       derivative actions are detailed in the Declaration of Timothy Brown in Support of
   4
       Plaintiff's Motion for Final Approval of Derivative Settlement ("Brown
   5
       Declaration") and the Declaration of Laurence M. Rosen in Support of Plaintiff's
   6
       Motion for Final Approval of Derivative Settlement ("Rosen Declaration"), attached
   7
       hereto as Exhibits C-D.
   8
             70.    The Brown Declaration reflects that the number of hours spent on the
   9
       litigation by The Brown Law Firm, P.C. is 426.66, with a total lodestar amount of
  10
       $264,717.50. The Brown Declaration also reflects that The Brown Law Firm has
  11
       incurred a total of $10,495.75 in unreimbursed expenses in connection with the
  12
       prosecution and settlement of the litigation.
  13
             71.    The Rosen Declaration reflects that the number of hours spent on the
  14
       litigation by The Rosen Law Firm, P.A. is 74.01, with a total lodestar amount of
  15
       $49,669.01. The Rosen Declaration also reflects that The Rosen Law Firm has
  16
       incurred a total of $5,167.49 in unreimbursed expenses in connection with the
  17
       prosecution and settlement of the litigation.
  18
             D.     The Service Awards Requested by Plaintiffs Are Reasonable
  19
             72.    Plaintiffs respectfully request that the Court approve service awards of
  20
       $1,500 each, to be paid from the amount of fees awarded by the Court, in recognition
  21
       of the substantial benefits they have helped create for Puma. Stip., ¶4.2. Here,
  22
       Plaintiff devoted time and effort to initiating and diligently supervising this
  23
       litigation, including reviewing the Litigation Demand and complaint, and engaging
  24
       in correspondence with counsel regarding the allegations in this action and the
  25
       related Securities Action. Plaintiff also willingly undertook certain responsibilities
  26
       and risks that go along with publicly litigating this representative action on behalf of
  27
  28                                            - 25 -
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   1 Puma.     The modest service award, to be deducted from the Fee and Expense
   2 Amount, should therefore be approved.
   3 V.      CONCLUSION
   4         73.   The Settlement is fair, reasonable, and adequate, confers substantial
   5 benefits on Puma through the adoption of valuable corporate governance changes,
   6 and should be approved in its entirety.
   7         74.   Attached hereto are true and correct copies of the following Exhibits:
   8         Exhibit A: Robbins Arroyo LLP Resume;
   9         Exhibit B:   Declaration of Gregory P. Lindstrom in Support of Plaintiff's
                          Motion for Final Approval of Derivative Settlement;
  10
             Exhibit C:   Declaration of Timothy Brown in Support of Plaintiff's Motion
  11                      for Final Approval of Derivative Settlement;
  12         Exhibit D: Declaration of Laurence M. Rosen in Support of Plaintiff's
                        Motion for Final Approval of Derivative Settlement;
  13
             Exhibit E:   City of Westland Police & Fire Ret. Sys. v. Sonic Sols., No. C 07-
  14                      0511-CW, slip op. (N.D. Cal. Apr. 8, 2010);
  15         Exhibit F:   Espinoza v. Zuckerberg, et al., C.A. No. 9745-CB, Affidavit of
                          Jenny L. Dixon in Support of Motion for Approval of Proposed
  16                      Settlement and Application for an Award of Attorneys' Fees and
                          Expenses (Del. Ch. Mar. 9, 2016) and Order and Final Judgment
  17                      (Del. Ch. Mar. 9, 2016);
  18         Exhibit G: In re Arena Pharm., Inc. S'holder Derivative Litig., No. 37-2010-
                        00101051-CU-BT-CTL, slip op. (Cal. Super. Ct.-San Diego Cty.
  19                    Dec 16, 2011);
  20         Exhibit H: In re Mannkind Corp. Derivative Litig., No. 11-cv-05003-GAF-
                        SSx, slip op. (C.D. Cal. Nov. 19, 2012);
  21
             Exhibit I:   Hess v. Heckmann, No. INC 10010407, slip op. (Cal. Super. Ct.-
  22                      Riverside Cty., June 24, 2013);
  23         Exhibit J:   In re Hewlett-Packard Co. Securities Litig., No. CV-11-01404-
                          AG, Reporter's Transcript of Proceedings Motion Hearing (C.D.
  24                      Cal. Dec. 10, 2014);
  25         Exhibit K: In re Integrated Silicon Solution, Inc., S'holder Derivative Litig.,
                        No. C-06-04387-RMW, Joint Declaration of Robin Winchester
  26                    and Jeffrey J. Angelovich in Support of Motion for Final
                        Approval of Derivative Settlement (N.D. Cal., May 26, 2009) and
  27                    Final Judgment and Order of Dismissal with Prejudice (N.D. Cal.,
                        June 9, 2008); and
  28                                         - 26 -
       DECLARATION OF ASHLEY R. RIFKIN ISO PS' MOTION FOR FINAL APPROVAL OF SETTLEMENT
       Case No. 8:18-cv-00236-AG-JCG
Case 8:18-cv-00236-AG-JCG Document 28 Filed 12/17/18 Page 28 of 29 Page ID #:503




                 Exhibit L:   In re Arena Pharm., Inc. S'holder Derivative Litig., No. 37-2010-
   1                          00101051-CU-BT-CTL, Declaration of Ashley R. Palmer in
                              Support of Plaintiffs' Unopposed Motion for Final Approval of
   2                          Shareholder Derivative Settlement (Cal. Super. Ct.-San Diego
                              Cty. Dec. 9, 2011) and Final Order of Dismissal with Prejudice
   3                          and Judgment (Dec. 16, 2011).
   4
                 I declare under penalty of perjury under the laws of the State of California that
   5
       the foregoing is true and correct. Executed this 17th day of December, 2018, at San
   6
       Diego, California.
   7
   8
                                                                 /s/ Ashley R. Rifkin
   9                                                            ASHLEY R. RIFKIN
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       DECLARATION OF ASHLEY R. RIFKIN ISO PS' MOTION FOR FINAL APPROVAL OF SETTLEMENT
       Case No. 8:18-cv-00236-AG-JCG
Case 8:18-cv-00236-AG-JCG Document 28 Filed 12/17/18 Page 29 of 29 Page ID #:504




   1                             CERTIFICATE OF SERVICE
   2         I hereby certify that on December 17, 2018, I authorized the electronic filing
   3 of the foregoing DECLARATION OF ASHLEY R. RIFKIN IN SUPPORT OF
   4 PLAINTIFF'S        MOTION       FOR    FINAL       APPROVAL       OF    DERIVATIVE
   5 SETTLEMENT, and all attachments thereto, with the Clerk of the Court using the
   6 CM/ECF system which will send notification of such filing to the e-mail addresses
   7 denoted on the attached Electronic Mail Notice List for this action.
   8         I further certify that I caused a copy of the foregoing to be sent via e-mail to
   9 the following parties:
  10         Colleen C. Smith
  11         LATHAM & WATKINS LLP
             12670 High Bluff Drive
  12         San Diego, CA 92130
             colleen.smith@lw.com
  13
             Michele D. Johnson
  14         LATHAM & WATKINS LLP
             650 Town Center Drive, 20th Floor
  15         Costa Mesa, CA 92626
  16         michele.johnson@lw.com

  17
  18
                                                               s/ Ashley R. Rifkin
  19                                                          ASHLEY R. RIFKIN
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       DECLARATION OF ASHLEY R. RIFKIN ISO PS' MOTION FOR FINAL APPROVAL OF SETTLEMENT
       Case No. 8:18-cv-00236-AG-JCG
